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                        IN THE iTNiTFn STATF~ ni~TRiCT COURT
                             FOR THE DISTRICT OF KANSAS




CLAUDE R. JENKINS,                                                13-CV-1078-RDR-KGS
                                                    CASE NO.
        Plaintiff,

v.                                                  In the District Court of the Thirtieth
                                                    .Tudicial District, Sumner County,
 OCWEN LOAN SERVICING,LLC,                          Kansas
                                                    Case No. 2013-CV-7
        Defendant.




                                    NOTiCF nF RF,MnVAL


        Defendant Ocwen Loan Servicing, T,T,C ("Ocwen"), respectfully notifies this Court

 pursuant to 28 U.S.C. § 1441 that it has this day removed this action from the District Court of

 the Thirtieth Judicial District, Sumner C~unly, Itansas, to this Cuurt. Pl~~i~~tiff Claude Jei~kiiis

("Plaintiff') asserts three causes of action: one, a count seeking a declaratory judgment; second,

 a count alleging violation of the Kansas Cunsuincr Yrutecliuti Act, K.S.A. 50-(i24 e/ seq.; and

 third, a count alle~in~ violation of the r'air llebt Collection Practices Act, 15 U.S.G. ~ 169? et

 seq. Removal is based on the grounds that federal question jurisdiction and di~~er~ity juri~dicti~n

 exist over this action. In support ofremoval, Ocwen submits this Notice.

                                        INTRODUCTION

         1.     Plaintiff commenced this action against Ocwen in the District Court of the

 Thiriieih Judicial District, Sumner County, Kansas, on Jan. 16, 2013, bearing Case No. 2013-
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CV-7. Ocwen was served with the summons and the petition on Jan. 18, ?013. True and correct

copies of all processes, pleadings, and orders in this action to date arc attached as Exhibit A.

These documents constitute all the pleadings filed with the Thirtieth Judicial District Court in the

state-court action.

       2.      Removal of this case is timely, in accordance with 28 U.S.C. § 1446(b), because

this Notice is filed within 30 days of Jan. 18, 2013, the date when Ocwen received service of the

summons and the petition.

                                        JURISDICTION

        3.     This is a civil action over which this Court has original jurisdiction pursuant to

28 U.S.C. §§ 1331 (federal question jurisdiction) and 1332(diversity jurisdiction).

I.     Federal Question Jurisdiction

       4.      Ocwen denies each substantive allegation made by Plaintiff However, because

Plaintiff purports to assert a claim arising under the laws of the United States, this Court

possesses jurisdiction over the matter pursuant to 28 U.S.C. § 1331.

        5.      Plaintiffs' petition alleges multiple violations of the federal Fair Debt Collection

Practices Act ("FDCPA"j specifically, 15 U.S.C.               fi` 1692b(6), 1692c(al(l ), 1692c(a)(2),

1692c(c), 1692d(5), 1692c(2)(A), 169?e(4j, 1692e(5), 1692e(10), and 1692f(1).(See Pet., EY. A,

¶¶ 26-29).

        6.      To the extent that Plaintiff purports to state a claim under the FDCPA, this Court

has jurisdiction under 28 U.S.C. § 1331. Actions filed         state courts that purport to state claims
                                                         ui
under the FDCPA may be removed to federal court. See, e.g., Mondenado v. SLM Fin. Corp.,

No. 07-4059-JAR, 2007 WL 2264454, *2 (U. Kan. Auk. 3, 2007) (linding lhal the court had

original jurisdiction over TDCPA claims and exercising supplemental jurisdiction over the



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plaintiff's state-law claims). Ocwen denies, however, that Plaintiff can state a claim under the

FDCPA.

        7.     Plaintiff also purports to state a claim for a declaratory judgment and astate-law

claim under the KCPA. These claims should be removed as well, under 28 U.S.C. §§ 1367 and

1441.

        8.     This Court has supplemental jurisdiction over the declaratory judgment and

KCPA claims because these claims arise out of the same operative facts as Plaintiff's FDCPA

claims and "form part of the same case or conh•oversy under Article III of the United States

Constitution." See 28 U.S.C. § 1367(a).

        9.     This action is removable to this Court under 28 U.S.C. § 1441(b) without regard

to the parties' citizenship because Plaintiff could have originally filed it in this Court pursuant to

the federal question jurisdiction conferred by 28 U.S.C. § 1331. Supplemental jurisdiction exists

over any additional claims pursuant to § 1367, and, therefore, removal is proper under § 1441(c).

IL      Diversity Jurisdiction

        10.    Plaintiff resides in Sumner County, Kansas, and is a citizen of Kansas.

        1 1.    ncwen is ~ citizen of Florida. Ocwen, a Delaware limited liability company, has

its principal place of business at 1661 Worthington Road, Suite 100, West Palm Beach, FL

33409. For purposes of determining diversity of citizenship, the Tenth Circuit has long held that

citizenship of an entity other than a corporation is determined by the citizenship of its members.

See Penteco Corp. Ltcl. P'shiply~lSA v. Union Gas Sys., Inc., 929 F. 2d 1519, 1522-23 (10th

Cir. 1991)(citing Carden v. Arkoma Assoc., 494 U.S. 185, 189 (1990)). The sole member of

Ocwen Loan Servicing, LLC, is Ocwen Financial Corp., a Florida corporation.




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        12.    Therefore, there is complete diversity between Plaintiff and Clcwen in this matter

under 28 U.S.C. § 1332(a)(1).

        13.    It is facially apparent from the allegations in Plaintiff's petition t~ha~t the amount in

controversy exceeds the $75,000 jurisdictional threshold. Plaintiff alleges that Ocwcn "has n7adc

well over a hundred phone calls" seeking to collect amounts that Plaintiff contends are not owed.

(Ex. A, ~J¶ 16-17). He further contends that each attempt to collect money not owed violated the

KCPA and expressly demands more than $75,000 in statutory damages under the KCPA. (Id.

¶~~ 25, 31).

        14.    Because the damages sought exceed $75,000, the amount-in-controversy

regturement of 28 U.S.C. § 1332(a) is satisfied.

        15.     Ocwen,therefore, is entitled to remove the state-court action to this Court.

                                               VENUE

        16.     Venue for removal is proper in this district under 27 U.S.C. § 1441(a) because

this district embraces the District Court of the Thirtieth Judicial District, Sumner County,

Kansas, the forum in which the remc~veci aclic~n watt ~~enciir~~.

        17.     Coticurrenlly with the lilin~ v1 ibis Nulicc, Ocwcn will lilt ~ cupy of lhi5 N~lice

of Removal with the District Court ofthe Thirtieth Judicial District, Sumner County, Kansas.



        WHN,ItN,NORE, Ocwen respectfully submits Thal ibis Notice complies with the statutory

removal requirements; that this aclic~n should proceed in this Court as a properly removed action;

and that Ocwen should have such other and further relief as this Court may deem just and proper.
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llatcd r'cbruary 18, 2013.    Respectfully submitted,


                              M(~RRTS, T,AINC~, F?VANS, F3ROCK
                               & KENNEDY, Chartered



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                                  CERTIFICATE OF SERViCF

       I hereby certify that nn Feb. I R, ?013, i have caused a true and correct copy of the

foregoing to be delivered via e-mail and placed in the U.S. Mail, postage prepaid, and addressed

to counsel of record on the service list below.


                                              /s/ Christopher T. Borniger
                                              Christopher T. Borniger

Service list:
Martin J. Peck
Security Slale Bank Building
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Wellington, KS 67152
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Attor-raeyfor• Plaintiff




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